     Case 3:21-cv-00080-MMD-CLB Document 144 Filed 12/06/21 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13
                               UNITED STATES DISTRICT COURT
14
                                FOR THE DISTRICT OF NEVADA
15
     BARTELL RANCH, LLC, et al.,                   )
16                                                 )   Lead Case:
                                     Plaintiffs,
                                                   )   Case No. 3:21-cv-00080-MMD-CLB
17 v.                                              )
                                                   )
18
                                                   )
19 ESTER M. MCCULLOUGH, et al.,                    )
                           Defendants,             )
20                                                 )   ORDER GRANTING DEFENDANT-
                                                   )   INTERVENOR LITHIUM NEVADA
21 and                                             )   CORP.’S UNOPPOSED MOTION TO
22 LITHIUM NEVADA CORP.,                           )   FILE SUR-REPLIES OR IN THE
                                                   )   ALTERNATIVE TO STRIKE
23                       Defendant-Intervenor.     )
                                                   )
24                                                 )
                                                   )
25                                                 )
26          For good cause shown, Defendant-intervenor Lithium Nevada Corp.’s unopposed motion
27 for leave to file sur-replies is GRANTED.

28
     Case 3:21-cv-00080-MMD-CLB Document 144 Filed 12/06/21 Page 2 of 2



 1          It is hereby ordered that on or before December 10, Federal Defendants and Lithium
 2 Nevada may each file a sur-reply to the Reply in Support of their Motion to Supplement the Record

 3 (ECF No. 140) filed by the People and Reno-Sparks Indian Colony, addressing the new arguments

 4 within the Reply.

 5

 6                                                      IT IS SO ORDERED:
 7
                                                        __________________________
 8                                                      Miranda M. Du
 9                                                      United States District Judge

10                                                              12/6/2021
                                                        DATED: ____________________

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                    2
